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  IN THE UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  MARIA SUAREZ,                                                Case No. 2:19-cv-07271

                         Plaintiff,

                  v.

  SOUTHERN GLAZER’S WINE AND SPIRITS OF
  NEW YORK, LLC,

                         Defendant.


                          DECLARATION OF ANJANETTE CABRERA

         I, Anjanette Cabrera, make this declaration under 28 U.S.C. § 1746.

         1.       I am a partner with the law firm of Constangy, Brooks, Smith, & Prophete, LLP. I

  am submitting this declaration in support of the motion for summary judgment by Defendant

  Southern Glazer’s Wine and Spirits of New York, LLC (“SGWS”). Since I have represented

  SGWS from the beginning of this case, I am familiar with its procedural and factual background.

         2.       Attached are true and correct copies of:

                 Employee Handbook (Exhibit 1) (SGWS1001-1083)

                 Personnel Action Notice dated October 10, 2007 (Exhibit 2) (SGWS1500)

                 Suarez’s Performance Evaluations, 2010 – 2014 (Exhibit 3) (SGWS1449-1460,

                  1465-1468, 1469-1482)

                 WMI Administrator Offer History and Letter (Exhibit 4) (SGWS1413-1416)

                 WMI Administrator History and Job Description (Exhibit 5) (SGWS895-900)

                 September 2016 WMI Administrator Performance Expectations Memo (Exhibit 6)

                  (SGWS2658-2659)



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                 January 2017 Performance Improvement Plan (Exhibit 7) (SGWS2661-2663)

                 2016 and 2017 Performance Reviews (Exhibit 8) (SGWS2665-2669, 2671-2672)

                 January 2017 Written Warning and December 2017 Final Written Warning (Exhibit

                  9) (SGWS2674-2676, 2678-2679)

                 NY RIF List (Exhibit 10) (SGWS1176)

                 Termination Letter (Exhibit 11) (SGWS1483)

                 WMI Inventory Control Manager History (Exhibit 12) (SGWS891-894)

                 SGWS’ Responses to Plaintiff’s First Set of Interrogatories (Exhibit 13)

                 Roy Kohn Deposition Excerpts (Exhibit 14)

                 Kevin Randall Deposition Excerpts (Exhibit 15)

                 Melissa Johnson Deposition Excerpts (Exhibit 16)

                 Tonisha Durant Deposition Excerpts (Exhibit 17)

                 Barry Finkelstein Deposition Excerpts (Exhibit 18)

                 Suarez’s Deposition Excerpts (Exhibit 19)

                 August 2016 Email Thread (Exhibit 20) (SGWS1927)

                 March 2017 Email (Exhibit 21) (SGWS1974-1975)

                 Daily/Weekly Task Report (Exhibit 22) (SGWS1356)

                 Payroll Records 2012-2017 (Exhibit 23) (SGWS63, 106, 169, 212, 265, 319)

                 Elizabeth Toohig Deposition Excerpts (Exhibit 24)

                 Suarez’ Deposition Testimony in Sajous Matter (Exhibit 25) (SGWS815-856)

                 Suarez’ May 2013 Email (Exhibit 26) (PL265-266)

                 Dina Wald Margolis Deposition Excerpts (Exhibit 27)


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                 January 2017 Email (Exhibit 28) (SGWS1983)

                 Toohig Emails (Exhibit 29) (SGWS1865-1870, 1877-1879, 1924-1928, 1949,

                  1952-1953, 1961-1966, 1973-1976, 1978, 1983-1984, 1993-2039, 2063-2064,

                  2068-2069, 2088, 2255)


  SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY ON JANUARY 3, 2023


     /s/ Anjanette Cabrera
  Anjanette Cabrera




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